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                                                        UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                            JACKSONVILLE DIVISION

  SONIA ANTOINETTE DODD,

                                              Petitioner,

  vs.                                                                     Case No.:   3:12-cv-1084-J-34MCR
                                                                                      3:09-cr-51-J-34MCR-4
  UNITED STATES OF AMERICA,

                  Respondent.
  __________________________________/

                                                                  ORDER

                This case is before the Court on Petitioner Sonia Antoinette Dodd’s Motion Under

  28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Doc. 1, Motion to Vacate)1

  and Memorandum of Facts and Supporting Citations of Law (Doc. 2, Memorandum), both

  filed on September 27, 2012. The United States filed a Response opposing collateral

  relief on March 12, 2014. (Doc. 11, Response). Dodd filed a Reply to the government’s

  Response on June 16, 2014. (Doc. 14, Reply).

                Pursuant to 28 U.S.C. § 2255 and Rule 8(a) of the Rules Governing Section 2255

  Proceedings2, the Court has considered the need for an evidentiary hearing and

  determines that an evidentiary hearing is necessary to resolve the merits of one of the

  claims in this action. See Aron v. United States, 291 F.3d 708, 714–15 (11th Cir. 2002)

  (where a prisoner alleges facts that, if true, would entitle him to relief, a district court

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         Citations to Dodd’s criminal case file, United States of America vs. Sonia Antoinette Dodd, 3:09-
  cr-51-J-34MCR-4, are denoted as “Crim. Doc. ____.” Citations to Dodd’s civil § 2255 case file, 3:12-cv-
  1084-J-34MCR, are denoted as “Doc. ____.”
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          Rule 8(a) of the Rules Governing Section 2255 Proceedings requires the Court to review the record,
  including any transcripts and submitted materials, to determine whether an evidentiary hearing is warranted
  before deciding on a § 2255 motion.
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  should order an evidentiary hearing unless the prisoner’s claims are patently frivolous or

  affirmatively contradicted by the record); Dickson v. Wainwright, 683 F.2d 348, 351 (11th

  Cir. 1982) (“On habeas a federal district court need not conduct an evidentiary hearing if

  it can be conclusively determined from the record that the petitioner was not denied

  effective assistance of counsel.”).3 The remaining claims, however, do not warrant an

  evidentiary hearing as they are due to be denied based on the record.

         I.             Background

                On September 10, 2009, a grand jury sitting in the Middle District of Florida

  charged Dodd, along with her daughter and two sons, with one count of conspiracy to

  distribute 1,000 kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

  841(b)(1)(A) and 846. (Crim. Doc. 146, Superseding Indictment). Prior to trial, Dodd and

  each of her sons, Fredrick and Alex Lee Campbell, moved to suppress evidence

  discovered in January 2009 at two residences and two warehouse storage units. Dodd’s

  sons were unsuccessful in their motions to suppress, but the Court found that officers

  exceeded the scope of their search warrant when they retrieved and examined certain

  documents at Dodd’s residence, and thus granted suppression of the fruits of that search

  as to Dodd. (Crim. Doc. 147, Report and Recommendation on Motion to Suppress; Crim.

  Doc. 200, Order Adopting R&R). Dodd’s sons then proceeded to trial; at the conclusion

  of which, the jury found both guilty. (See Crim. Doc. 259, Jury Verdict as to Fredrick

  Campbell; Crim. Doc. 260, Jury Verdict as to Alex Lee Campbell). Having seen her sons

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         Although the Court does not rely on unpublished opinions as precedent, they may be cited
  throughout this Order as persuasive authority on a particular point. Rule 32.1 of the Federal Rules of
  Appellate Procedure expressly permits the Court to cite to unpublished opinions that have been issued on
  or after January 1, 2007. Fed. R. App. P. 32.1(a).


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  convicted, Dodd decided to change her plea to guilty on the day that jury selection in her

  case was set to begin. (See Crim. Doc. 310, Plea Tr. at 2-7). Pursuant to a written plea

  agreement, Dodd pled guilty to the lesser included offense of conspiracy to distribute 100

  kilograms or more of marijuana. (Crim. Doc. 269, Plea Agreement). In exchange for

  pleading guilty, Dodd obtained three benefits: (1) reduced criminal liability by being

  allowed to plead to a lower quantity of marijuana than what the government believed it

  could prove; (2) a lower base offense level as Dodd and the United States stipulated to a

  base offense level of 30 under the United States Sentencing Guidelines (“Guidelines”);

  and (3) an agreement that the United States would recommend a two-level downward

  adjustment for acceptance of responsibility. See Plea Agreement at 1-3. Permitting Dodd

  to plead guilty to 100 kilograms or more of marijuana rather than 1,000 kilograms or more

  was particularly beneficial, as that reduced Dodd’s mandatory minimum sentence from

  10 years in prison to 5 years in prison, and lowered her maximum sentence from life in

  prison to 40 years. Compare 21 U.S.C. § 841(b)(1)(A) with 21 U.S.C. § 841(b)(1)(B).

        Before accepting Dodd’s guilty plea, the Court conducted a thorough Rule 11

  colloquy. See Fed. R. Crim. P. 11. In particular, the Court took care to ensure that Dodd

  was competent to proceed.       Dodd informed the Court that she had a 12th grade

  education, that she could read and write in English, and that she understood the English

  language. Plea Tr. at 10. When questioned about her medications, Dodd told the Court

  that she was taking Elavil for depression and insomnia, Seroquil (or Theraquil) and Paxil

  as mood stabilizers, and hydrochlorothiazide for high blood pressure. Id. at 11. Dodd’s

  counsel, Wade Rolle, and the United States confirmed for the Court that a magistrate

  judge had conducted a competency hearing and found Dodd competent to proceed to



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  trial. Id. at 11-12; see also Crim. Doc. 179, Competency Order. The Court inquired of

  Dodd whether she was able to understand the proceedings and the decision to plead

  guilty. The following colloquy ensued:

        THE COURT:           All right. Now, those medications that you’re taking, are you
                             able to think clearly and logically when you’re taking them?

        THE DEFENDANT: Yes, most of the time. Yes.

        THE COURT:           Do they help you think clearly and logically?

        THE DEFENDANT: It depends – well, it depends when they give it to me. They
                       have to give it to you at the right time, and I think I got it, like,
                       late last night and then real early this morning so it’s kind of
                       mixed together, but – I mean, I can think though.

        THE COURT:           Well, ma’am, I have to know that for the purposes of this
                             proceeding that you know and understand everything that
                             we’re doing and that you can think clearly and logically, and
                             so –

        THE DEFENDANT: Yes, I can. I can think clearly.

        THE COURT:           Is there anything about your medications or when you
                             received them that will hurt your ability to understand what
                             we’re doing or –

        THE DEFENDANT: No. It shouldn’t. I don’t believe so.

        MR. ROLLE:           May I have a brief moment, Your Honor?

        THE COURT:           Certainly.

        (Defendant conferring with her attorney.)

        THE COURT:           Do you understand why we’re here this morning, ma’am?

        THE DEFENDANT: Yes, I do.

        THE COURT:           And do you understand the importance of this proceeding?

        THE DEFENDANT: Yes, I do.




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        THE COURT:          Do you have any concerns at all about your ability to proceed
                            at this time with this hearing?

        THE DEFENDANT: No, I don’t, ma’am.

        THE COURT:          Have you taken the prescribed amount of your medications?

        THE DEFENDANT: Yes, I have.

        THE COURT:          You have?

        THE DEFENDANT: Yes, ma’am.

        THE COURT:          And, Mr. Rolle, you’ve been speaking with Ms. Dodd last night
                            and for the last about three hours or so. Do you have any
                            concerns regarding her competency or her ability to proceed
                            with the entry of a plea at this time?

        MR. ROLLE:          I do not, Your Honor.

        THE COURT:          Ms. Savell [Assistant United States Attorney], any concerns in
                            that regard?

        MS. SAVELL:         No, Your Honor.

        THE COURT:          And just for the purposes of this record, document No. 179 is
                            Judge Snyder’s order finding Ms. Dodd competent to proceed
                            with trial, and counsel has not indicated any concern, so we
                            will proceed with the entry of a plea.

  Plea Tr. at 12-14.

        After finding Dodd competent to continue with the plea hearing, the Court

  explained Dodd’s due process rights to her, and Dodd stated that she understood them.

  Id. at 14-15. The Court informed Dodd that by pleading guilty, she waived those rights,

  including the right “to challenge the way the Government obtained any evidence,

  statement, or confession.” Id. at 15-16. Dodd again said she understood. Id. Dodd did

  have some misunderstanding about the Plea Agreement’s stipulation as to the base

  offense level and the amount of marijuana attributable to her, which she believed would



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  be binding on the Court. See id. at 26. After the Court explained that it, and it alone,

  would ultimately determine the offense level based on the amount of marijuana for which

  she was responsible, Dodd consulted with her attorney. See id. at 26-27. Dodd then

  stated that she understood that the Court alone would determine how much marijuana

  was attributable to her for Guidelines purposes, and that she still desired to plead guilty.

  Id. at 27. Dodd affirmed that she understood that she would not be able to withdraw her

  guilty plea even if the Court’s calculation was higher than what was stipulated to in the

  Plea Agreement. Id. Similarly, the Court explained that the applicable sentencing range

  recommended by the Guidelines was only advisory, and that the Court was free to impose

  a sentence up to the statutory maximum of 40 years in prison, but no less than the

  mandatory minimum of 5 years. Id. at 17-18, 21-22. Dodd confirmed that she understood.

         As part of the plea colloquy, the Court explained the elements of the conspiracy

  charge to Dodd, and the government read the factual basis appended to the Plea

  Agreement aloud. Id. at 20-21, 31-33. Dodd told the Court that she understood the

  charges and that she admitted the truth of the factual basis. Id. at 30, 34. Dodd also told

  the Court that she was pleading guilty because she was in fact guilty, and not because

  she had been threatened or coerced. Id. at 30, 34-35. Dodd affirmed that there were no

  promises or understandings off the record that induced her to plead guilty, and that it was

  her own independent decision to enter into the Plea Agreement. Id. at 34-35. Dodd

  stated that she was satisfied with the representation she received from her attorney, that

  she had been given plenty of time to speak with her attorney and others about her

  decision to plead guilty, and that she had no complaints about her treatment. Id. at 36.

  In the end, Dodd confirmed her decision to plead guilty. Id. at 37. Based upon the Court’s



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  exchange with Dodd under oath, the Court concluded that Dodd was alert and intelligent,

  and that she pled guilty knowingly and freely with the advice of competent counsel with

  whom she was satisfied. Id. at 37-38. Dodd told the Court that she agreed with those

  findings. Id. at 38.

         Dodd next appeared before the Court on August 16, 2010, for sentencing. The

  Court calculated Dodd’s base offense level under the Guidelines to be 32, and after a

  two-level reduction for acceptance of responsibility arrived at a total offense level of 30.

  (Crim. Doc. 379, Sentencing Tr. at 36-37). Given Dodd’s total offense level and her

  criminal history category of VI, the Court found Dodd’s advisory Guidelines range to be

  168 to 210 months in prison. Id. at 38. Ultimately, the Court sentenced Dodd to 175

  months in prison, followed by a term of supervised release of five years. Id. at 95.

         Thereafter, Dodd sought direct review in the Eleventh Circuit Court of Appeals.

  The Eleventh Circuit affirmed Dodd’s conviction and sentence, finding that each of her

  claims either lacked merit or were barred by a valid sentence-appeal waiver. United

  States v. Campbell, et al., 434 F. App’x 805, 811-12 (11th Cir. 2011). The Eleventh Circuit

  issued its decision on July 13, 2011, after which Dodd petitioned the Supreme Court for

  certiorari review. The Supreme Court denied Dodd’s petition for a writ of certiorari on

  February 27, 2012. Dodd v. United States, 132 S. Ct. 1648 (2012). Dodd’s conviction

  and sentence became final upon the denial of certiorari review. Washington v. United

  States, 243 F.3d 1299, 1300 (11th Cir. 2001). Dodd had one year from that date, or until

  February 27, 2013 to file a timely motion to vacate under 28 U.S.C. § 2255(f)(1). Dodd

  filed the current Motion to Vacate on September 27, 2012, and is therefore timely.




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         Notably, although the Court informed Dodd at her plea colloquy of nearly every

  consequence of pleading guilty, the record reflects that the colloquy did not address

  Dodd’s exposure to the possibility of mandatory deportation under 8 U.S.C. §

  1227(a)(2)(B)(i) on account of being convicted for conspiracy to distribute 100 kilograms

  or more of marijuana. Dodd’s plea colloquy took place on February 23, 2010, one month

  before the Supreme Court decided in Padilla v. Kentucky, 559 U.S. 356 (Mar. 31, 2010),

  that an attorney renders ineffective assistance by failing to inform a defendant of the

  deportation consequences of pleading guilty. Thus, the Court did not have the benefit of

  Padilla’s guidance at the time it conducted the plea colloquy. Dodd now alleges that

  counsel rendered ineffective assistance by failing to advise her that her guilty plea would

  subject her to mandatory deportation if the United States Attorney General so ordered.

         Notably, after pleading guilty, Dodd filed a complaint against trial counsel with the

  Florida Bar. Dodd did not raise the issue of counsel’s alleged failure to advise her of the

  deportation consequences of pleading guilty, but she did raise many other allegations

  that are also the basis of ineffective assistance of counsel claims in the instant Motion to

  Vacate. The Florida Bar ultimately dismissed the complaint, but in his response to the

  Florida Bar, Dodd’s counsel described the scope of his pre-plea consultation with Dodd.

  (See Doc. 3-2, Bar Complaint Reponse at 5-6).          He recalled advising Dodd about

  sentencing contingencies, the role of the Guidelines and the potential benefits of pleading

  guilty, as well as the strength of the government’s evidence. Absent from counsel’s

  description of his consultation with Dodd is any reference to the deportation

  consequences of pleading guilty. While counsel may have advised Dodd on potential

  immigration consequences as well and simply did not mention it in his letter to the Florida



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  Bar because it was not an issue in her grievance, on this record, the Court can make no

  such determination.

      II.      Opinion

            Dodd raises five grounds in her Motion to Vacate. She contends that (1) trial

  counsel, Wade Rolle, gave ineffective assistance under Padilla v. Kentucky by failing to

  advise her that pleading guilty could lead to her deportation; (2) appellate counsel

  rendered ineffective assistance by failing to raise the Padilla issue on direct appeal; (3)

  trial counsel provided ineffective assistance that rendered her guilty plea involuntary

  because he failed to properly advise on or litigate certain Fourth Amendment suppression

  issues (Grounds Three and Four); and (4) her guilty plea was unknowing and involuntary

  because she was under the influence of medications when she pled guilty. The Court will

  address each contention in turn.

            Pursuant to Title 28, United States Code, Section 2255, a person in federal custody

  may move to vacate, set aside, or correct his sentence. Section 2255 permits such

  collateral challenges on four specific grounds: (1) the imposed sentence was in violation

  of the Constitution or laws of the United States; (2) the court did not have jurisdiction to

  impose the sentence; (3) the imposed sentence exceeded the maximum authorized by

  law; or (4) the imposed sentence is otherwise subject to collateral attack. 28 U.S.C

  §2255(a) (2008). Only jurisdictional claims, constitutional claims, and claims of error that

  are so fundamentally defective as to cause a complete miscarriage of justice will warrant

  relief through collateral attack. United States v. Addonizio, 442 U.S. 178, 184-86 (1979).

  A petitioner’s challenge to his sentence based on a Sixth Amendment claim of ineffective




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  assistance of counsel is normally considered in a collateral attack. United States v.

  Teague, 953 F.2d 1525, 1534 n. 11 (11th Cir. 1992).

          A. Ineffective assistance of counsel claims

          As with any Sixth Amendment ineffective assistance of counsel claim, a § 2255

  petitioner must demonstrate both: (1) that his counsel’s conduct amounted to

  constitutionally deficient performance, and (2) that his counsel’s deficient performance

  sufficiently prejudiced his defense. Strickland v. Washington, 466 U.S. 668, 687 (1984);

  Weeks v. Jones, 26 F.3d 1030, 1036 (11th Cir. 1994). In determining whether the

  petitioner has satisfied the first requirement, i.e. that counsel performed deficiently, the

  Court adheres to the standard of reasonably effective assistance. Weeks, 26 F.3d at

  1036.    The petitioner must show, in light of all the circumstances, that counsel’s

  performance fell outside the “wide range of professionally competent assistance.” Id. To

  satisfy the second requirement, that counsel’s deficient performance prejudiced the

  defendant, the petitioner must show that there is a reasonable probability that, but for

  counsel’s error, the result of the proceeding would have been different. Id. at 1036-37

  (citing Strickland, 466 U.S. at 694). In determining whether a petitioner has met the two

  prongs of deficient performance and prejudice, the Court considers the totality of the

  evidence. Strickland, 466 U.S. at 695. However, because both prongs are necessary,

  “there is no reason for a court… to approach the inquiry in the same order or even to

  address both components of the inquiry if the defendant makes an insufficient showing

  on one.” Id. at 697; see also Wellington v. Moore, 314 F.3d 1256, 1261 n. 1 (11th Cir.

  2002) (“We need not discuss the performance deficiency component of [petitioner’s]




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  ineffective assistance claim because failure to satisfy the prejudice component is

  dispositive.”).

         To succeed on a claim that a guilty plea made pursuant to a plea agreement was

  obtained as the result of the ineffective assistance of counsel, a § 2255 movant must

  show that trial counsel’s advice “fell below an objective standard of reasonableness” and

  “that there is a reasonable probability that, but for counsel's errors, [the movant] would

  not have pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474

  U.S. 52, 57, 59 (1985) (citations omitted).

         1. Ground One: Trial counsel’s failure to advise Dodd of deportation
            consequences

         In Padilla v. Kentucky, the Supreme Court announced that an attorney performs

  deficiently in the plea bargaining process if he fails to advise his client of the immigration

  consequences of pleading guilty. 559 U.S. at 374. Recognizing that most criminal

  defense attorneys are not experts in immigration law, the Court explained that “[w]hen the

  law is not succinct and straightforward… a criminal defense attorney need do no more

  than advise a noncitizen client that pending criminal charges may carry a risk of adverse

  immigration consequences.” Id. at 369. Where, however, the law is “truly clear” about

  the deportation consequences of a conviction, a defense attorney has a duty to correctly

  inform his client of those consequences during plea discussions. Id. In Padilla, the Court

  determined that the law was sufficiently clear to trigger counsel’s duty to correctly advise

  his client of deportation consequences where 8 U.S.C. § 1227(a)(2)(B)(i) provides:

         Any alien who at any time after admission has been convicted of a violation
         of (or a conspiracy or attempt to violate) any law or regulation of a State,
         the United States or a foreign country relating to a controlled substance…,
         other than a single offense involving possession for one’s own use of 30
         grams or less of marijuana, is deportable.

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  Padilla, 559 U.S. at 368 (quoting 8 U.S.C. § 1227(a)(2)(B)(i)). As the Supreme Court

  explained, “Padilla’s counsel could have easily determined that his plea would make him

  eligible for deportation simply from reading the text of the statute, which addresses not

  some broad classification of crimes but specifically commands removal for all controlled

  substances convictions except for the most trivial of marijuana possession offenses.”

  Padilla, 559 U.S. at 368.

         In reaching its conclusion in Padilla, the Supreme Court specifically rejected any

  distinction between cases where an attorney affirmatively misadvises his client on

  immigration consequences and cases where an attorney merely fails to advise his client

  at all on the matter. Id. at 369-70. The Court reasoned that such a distinction would

  create two perverse results. “First, it would give counsel an incentive to remain silent on

  matters of great importance, even when answers are readily available.” Id. at 370.

  “Second, it would deny a class of clients least able to represent themselves the most

  rudimentary advice on deportation even when it is readily available.” Id. at 370-71.

         Accepting the petitioner’s assertion that his counsel failed to properly advise of the

  deportation consequences of a guilty plea, the Supreme Court readily concluded that

  “Padilla ha[d] sufficiently alleged that his counsel was constitutionally deficient.” Id. at

  374. However, because the state court had not considered whether petitioner Padilla had

  shown the requisite prejudice to warrant habeas relief under a Strickland/ Hill analysis,

  the Court declined to address the matter further, instead remanding it to the Kentucky

  courts for a determination of whether counsel’s misadvice prejudiced the petitioner. Id.

  As in other cases where a petitioner alleges that the ineffective assistance of counsel

  rendered a guilty plea unknowing or involuntary, the prejudice inquiry would focus on

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  whether “there is a reasonable probability that, but for counsel's errors, he would not have

  pleaded guilty and would have insisted on going to trial.” Hill, 474 U.S. at 59.

         The Court observes that although the Supreme Court has held that Padilla is not

  retroactively applicable on collateral review, Chaidez v. United States, 133 S. Ct. 1103

  (2013), this case does not involve a retroactive application of that decision – even though

  Dodd’s Rule 11 plea colloquy took place one month before the Supreme Court handed

  down Padilla. Whether application of a Supreme Court decision is considered to be a

  retroactive application is determined by reference to the date on which a petitioner’s

  conviction and sentence became final. If a Supreme Court decision is issued before a

  petitioner’s conviction and sentence become final, then the Supreme Court decision is

  applicable on collateral review without any need for a retroactivity analysis. Only if a

  Supreme Court decision is issued after a petitioner’s conviction and sentence have

  become final would the petitioner need to establish that the new decision applies

  retroactively. See Teague v. Lane, 489 U.S. 288, 301 (1989) (“[A] case announces a new

  rule if the result was not dictated by precedent existing at the time the defendant's

  conviction became final.”) (emphasis added). Dodd’s conviction and sentence did not

  become final until the Supreme Court denied her petition for certiorari review.

  Washington, 243 F.3d at 1300. Thus, Dodd’s conviction and sentence did not become

  final until February 27, 2012, nearly two years after the Supreme Court decided Padilla.

  Compare Dodd, 132 S. Ct. 1648 (Feb. 27, 2012) with Padilla, 559 U.S. 356 (Mar. 31,

  2010). Padilla therefore applies to Dodd’s case without doing so retroactively. See

  Chaidez, 133 S. Ct. at 1113 (“Under Teague, defendants whose convictions became final

  prior to Padilla therefore cannot benefit from its holding.”) (emphasis added).



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         Here, Dodd specifically alleges that trial counsel failed to advise her regarding any

  immigration implications of pleading guilty. Memorandum at 8. Yet, pursuant to 8 U.S.C.

  § 1227(a)(2)(B)(i), the same statute at issue in Padilla, Dodd’s conviction would subject

  her to mandatory deportation. Thus, counsel had a duty to accurately advise her about

  the deportation consequences of pleading guilty. Padilla, 559 U.S. at 368. Dodd further

  alleges that had she known that a conviction for conspiracy to distribute 100 kilograms or

  more of marijuana would render her deportable, she would not have pled guilty but would

  have insisted on going to trial. Id. at 10. These allegations are not frivolous. Rather, they

  state a facially valid claim for relief under Padilla.

         The United States contends that the Court should deny Dodd’s claim for relief

  because Dodd was aware that she could be deported by pleading guilty. Response at 9-

  11. In support of this contention, the United States first points to two paragraphs in Dodd’s

  presentence investigation report (PSR), which state that Dodd is a citizen of the United

  Kingdom and a resident alien of the United States, and that “[d]ue to [her] immigration

  status the defendant reported that after completing her term of incarceration, her future

  plans are unestablished.” PSR at ¶¶ 2, 82. The United States also points to a paragraph

  in the PSR that states “the defendant entered the United States on March 8, 1975, and is

  a permanent resident alien.” Id. at ¶ 73. This evidence certainly shows that Dodd knew

  she was a resident alien rather than a citizen of the United States. However, it does not

  really address the question of whether Dodd knew she would become eligible for

  involuntary deportation by pleading guilty.

         The United States also points to a sentence initially included in paragraph 73 of

  the PSR, to which Dodd objected. The statement said Dodd’s mother “does not have



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  alien resident status and is residing in the United States without proper authorization.”

  Response at 10. Regardless of its import, this statement says nothing about Dodd’s own

  eligibility for involuntary deportation. Therefore, this evidence does little to support the

  conclusion that Dodd knew she could be deported following a conviction.

                Next, the United States points to a reference by the Court to deportation during

  Dodd’s sentencing hearing. As a condition of supervised release, the Court instructed

  Dodd “[i]f you’re deported, you will be ordered not to return to this country unless you can

  do so legally.” Sentencing Tr. at 96 (emphasis added). The United States contends that

  because Dodd did not raise an objection or attempt to withdraw her guilty plea at that

  time, she waived any claim that she pled guilty unaware of deportation consequences.

  However, it appears that the Court’s statement was the first time that Dodd’s potential

  deportability was discussed in court, and by then Dodd had already pled guilty,

  unsuccessfully attempted to withdraw her guilty plea once (albeit on other grounds), and

  the Court had pronounced the sentence. Under these circumstances, the Court is not

  convinced that the reference at sentencing, either alone or in combination with the

  statements in the PSR, affirmatively rebuts Dodd’s contentions.4

                The United States also contends that Dodd’s claim is barred by a valid waiver of

  collateral review. This argument is mistaken. Dodd’s waiver of collateral review only

  concerns her ability to collaterally challenge her sentence. See Plea Agreement at 6.

  Dodd is challenging the validity of her guilty plea and conviction. Thus, Dodd’s claim falls


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           Additionally, a defendant is not permitted to withdraw a guilty plea after the sentence is imposed,
  but must resort to either direct appeal or collateral review. Fed. R. Crim. P. 11(e). Notably, the oral
  pronouncement of the sentence, rather than entry of a written judgment, triggers Rule 11(e)’s bar on
  withdrawing a guilty plea. United States v. Vinyard, 539 F.3d 589, 595 (7th Cir. 2008); United States v.
  Garduno, 506 F.3d 1287, 1289-90 (10th Cir. 2007). Thus, it is unclear whether Dodd could have withdrawn
  her guilty plea even if she attempted to do so.

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  outside the scope of the waiver. Additionally, even the broadest sentence-appeal waiver

  does not bar a petitioner from raising a claim of ineffective assistance of counsel with

  respect to advising the person regarding the entry of the plea. Patel v. United States, 252

  F. App’x 970, 975 (11th Cir. 2007). Therefore, Dodd is permitted to challenge the validity

  of her guilty plea notwithstanding the sentence-appeal waiver.

          Dodd has pled a prima facie case of a violation of her right to the effective

  assistance of counsel under Padilla v. Kentucky. Despite the government’s contentions,

  the Court is not convinced that the record affirmatively rebuts Dodd’s claim. Therefore,

  Dodd is due to be granted an evidentiary hearing on the allegation that counsel neglected

  to advise her that pleading guilty would expose her to mandatory deportation.

          2. Ground Two: Ineffective assistance of appellate counsel

          In Ground Two, Dodd claims that appellate counsel gave ineffective assistance by

  failing to raise the Padilla claim discussed above. The Court finds that appellate counsel

  did not perform deficiently. Claims of ineffective assistance of counsel generally require

  further development of the record, and thus are inappropriate for direct appeal except for

  rare cases where the record on appeal is sufficient to address the claim. United States

  v. House, 684 F.3d 1173, 1210 (11th Cir. 2012) (citing United States v. Merrill, 513 F.3d

  1293, 1308 (11th Cir. 2008)). This is not one of those cases. Further factual development

  is necessary to determine whether trial counsel did or did not advise Dodd on the

  deportation consequences of pleading guilty, as well as whether such neglect prejudiced

  Dodd.    Because appellate counsel could not have argued the claim based on the

  appellate record as it then-existed, he did not perform deficiently by not raising the Padilla

  issue for direct review.



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                3. Grounds Three and Four:                                    Ineffective assistance with regard to
                   evidentiary issues

                Dodd alleges that trial counsel provided ineffective assistance in regard to two

  categories of evidence. In Ground Three, Dodd contends that counsel incorrectly advised

  her on the admissibility of plane tickets, travel documents, UPS receipts and FedEx labels

  which the government used to establish her participation in the conspiracy. Memorandum

  at 11. As to this evidence, Dodd asserts that counsel inaccurately advised her that the

  evidence was admissible under the “independent source” doctrine5, and that such advice

  caused her to plead guilty.                                    Id.   In Ground Four, Dodd contends that counsel was

  ineffective because he failed to move for the suppression of evidence gathered from a

  consent search of Dodd’s luggage at an airport in May 2007. Id. at 16-17. Dodd contends

  that counsel’s failure to move to suppress this evidence also caused her guilty plea to be

  unknowing and involuntary.6

                When a defendant pleads guilty, she waives all non-jurisdictional challenges to the

  constitutionality of her conviction, and can only attack the knowing and voluntary nature

  of the plea. Wilson v. United States, 962 F.2d 996, 997 (11th Cir. 1992). As the Supreme

  Court explained:

                [A] guilty plea represents a break in the chain of events which has preceded
                it in the criminal process. When a criminal defendant has solemnly admitted
                in open court that he is in fact guilty of the offense with which he is charged,
                he may not thereafter raise independent claims relating to the deprivation
                of constitutional rights that occurred prior to the entry of the guilty plea. He
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          “Under [the independent source] exception, evidence obtained from a lawful source that is
  independent of any Fourth Amendment violation is admissible, the rationale being that the exclusionary rule
  should not put the government in a worse position than if the constitutional violation had not occurred.”
  United States v. Noriega, 676 F.3d 1252, 1260 (11th Cir. 2012).
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        Ground Four would fail on the merits in any event. Dodd gave her consent to the May 2007 airport
  search, which would have rendered the motion to suppress meritless. (Crim. Doc. 301, Trial Tr. Vol. II at
  43-45; Rolle Letter at 2-3). Counsel does not render ineffective assistance by failing to file a meritless
  motion. See Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989).

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         may only attack the voluntary and intelligent character of the guilty plea by
         showing that the advice he received from counsel was not [competent].

  Tollett v. Henderson, 411 U.S. 258, 267 (1973).        Thus, an otherwise knowing and

  voluntary guilty plea also waives claims of pre-plea ineffective assistance of counsel.

  Wilson, 962 F.2d at 997. Claims that trial counsel gave ineffective assistance in regard

  to a Fourth Amendment suppression issue are among those challenges waived by a

  knowing and voluntary guilty plea. United States v. Winslow, Case No. 8:07-cv-683-T-

  23EAJ, 2007 WL 2302277 at *2 (M.D. Fla. Aug. 8, 2007); Lipscomb v. Sec’y, Dep’t of

  Corr., Case No. 8:06-cv-58-T-17EAJ, 2008 WL 434881 at *3-4 (M.D. Fla. Feb. 14, 2008).

  Such is the case even where a § 2255 petitioner claims that counsel’s misadvice on a

  Fourth Amendment issue somehow rendered his guilty plea unknowing so long as the

  record of the plea colloquy reflects that the defendant entered the plea knowingly and

  voluntarily. See Fisher v. United States, Civil Action No. 09-00815-KD-N, 2012 WL

  6680315 at *6-9 (S.D. Ala. Dec. 3, 2012) (where review of the plea colloquy reveals that

  the trial court completely advised the defendant of the consequences of pleading guilty,

  his rights, the nature of the charges, and the factual basis – especially where the factual

  basis incorporates the same evidence that the defendant later claims counsel should

  have suppressed – the defendant will still be deemed to have knowingly and voluntarily

  pled guilty, and thus to have waived claims of pre-plea ineffective assistance of counsel

  with respect to a suppression issue). Indeed, the Supreme Court has held that an

  attorney’s simple misjudgment on the admissibility of evidence does not deprive a guilty

  plea of its intelligent nature. McMann v. Richardson, 397 U.S. 759, 770 (1970) (A “plea

  of guilty based on reasonably competent advice is an intelligent plea not open to attack




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  on the ground that counsel may have misjudged the admissibility of the defendant's

  confession.”) (footnote omitted).

         Here, Dodd pled guilty after admitting the truth of the charges and the factual basis

  in open court. The Court assured that she understood the nature of the charges, the

  rights she had and would give up by pleading guilty, and the potential sentence she faced.

  Prior to accepting the plea, the Court specifically advised Dodd that “[b]y pleading guilty,

  you also waive and give up your right to challenge the way the Government obtained any

  evidence, statement, or confession.”      Sentencing Tr. at 16.     Dodd stated that she

  understood. Id. Shortly thereafter, the United States recited the factual basis aloud,

  including the following part:

         During the time frame 2006 through January, 2009, the defendant, Sonia
         Dodd, participated in the conspiracy by sending packages of marijuana via
         FedEx and UPS from California to Jacksonville for distribution. Sonia Dodd
         also participated in the conspiracy by transporting narcotic proceeds from
         Jacksonville to California.

  Id. at 33. Dodd affirmed that she heard the factual basis and that it was true. Id. at 33-

  34. Dodd therefore knew specifically what facts comprised the government’s evidence in

  the case against her, and that if she pled guilty she would waive the right to challenge the

  way the government obtained that evidence. That very same evidence is what Dodd now

  argues counsel was ineffective for not seeking to suppress. Importantly, Dodd told the

  Court that she was satisfied with her counsel’s representation and proceeded to plead

  guilty. Id. at 36-38. Dodd therefore pled guilty having been fully apprised of her rights,

  her waiver of those rights, what facts the government relied on in its case against her,

  and her possible sentence.




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         The record further reflects that prior to pleading, counsel took care to advise Dodd

  on the admissibility of evidence supporting the government’s case against her. In his

  letter to the Florida Bar responding to Dodd’s complaint, counsel recalled in pertinent part:

         Prior to Ms. Dodd stating that she wished to enter a plea, she inquired about
         how two groups of evidence would be entered in against her at trial. One
         concerned how the United States had obtained evidence of her numerous
         trips to California. I explained to Ms. Dodd that I would be objecting to any
         evidence of flights that she and other family members had made to
         California because I believed that they were the fruits of an illegal search of
         her residence and storage facility. I explained to Ms. Dodd that evidence
         produced at the trial of her sons indicated that they had been watching her
         trips from at least 2007 and that the United States had subpoenaed every
         airline flying out of Jacksonville and Orlando to Southern California for her
         and her co-defendants’ flight records. I had spoke [sic] to Assistant United
         States Attorney Julie Savell that morning and she indicated that the United
         States would be trying to enter this evidence under the independent source
         rule. I told Ms. Dodd that I did not know how the Judge would rule on the
         entry of this evidence and that Judge Howard usually took the most
         conservative approach to the entry of evidence. The second issue was how
         the United States was going to enter into evidence the numerous FedEx
         and UPS shipping labels/ receipts. I explained to Ms. Dodd that this issue
         was more problematic for the defense due to the fact that the United States
         had already known prior to the search of her residence that numerous
         packages were being shipped from Southern California to numerous
         addresses controlled by her sons and associates. I explained to Ms. Dodd
         that in my opinion, that the evidence of the shipping labels would likely be
         allowed into evidence because the United States can show independent
         knowledge of the shipments before the search warrant was executed on her
         home. This conversation with Ms. Dodd took over two hours and caused
         the Judge to delay the start of the trial at our request pending the outcome
         of these plea negotiations. It should be noted that a plea deadline had
         already been established in this case and federal judges normally do not
         allow pleas pass [sic] the deadline.

  Rolle Letter at 5. Dodd does not dispute counsel’s recollection, rather she contends that

  counsel’s belief that the UPS and FedEx shipping labels could be admitted under the

  “independent source” doctrine was factually mistaken because law enforcement

  discovered those documents in a storage unit only as a result of an unlawful search of

  her residence in January 2009. However, excerpts from the trial against Dodd’s sons

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  confirm counsel’s understanding that the government had been conducting surveillance

  on Dodd and her family, and thus had evidence tying Dodd to the drug trafficking well

  before officers conducted a partially unlawful search of her residence.

         The Court next turns to the second category of evidence upon which Dodd bases

  her claim, during the trial of Fredrick and Alex Campbell, Officer Anthony Shapiro of the

  Los Angeles County Sheriff’s Department (LASD) testified to an incident in 2006 where

  he stopped Dodd at Los Angeles International Airport (LAX) on suspicion of being a

  narcotics trafficker. (Crim. Doc. 301, Trial Tr. Vol. II at 13-34). Shapiro testified that he

  stopped Dodd because of suspicious behavior consistent with drug trafficking. Id. at 13-

  15. Under questioning, Dodd told Shapiro that she had $3,000 on her, but following a

  consent search Shapiro discovered that she was actually carrying $16,000 in money

  orders and $29,000 in currency, as well as three cell phones, id. at 16-18, 21, which

  Shapiro testified was consistent with trafficking. Another officer from the LASD, Scot

  Groves of a narcotics task force operating at LAX, testified to a separate incident in May,

  2007. Trial Tr. Vol. III at 36-61. Groves testified that he received a specific tip from a

  DEA agent to be on the lookout for Dodd. Groves followed up on the tip and stopped

  Dodd after she disembarked her flight. Id. at 39. After lying to Groves about having no

  checked luggage and the amount of money she was carrying, Dodd consented to a

  search of her checked luggage, which revealed $68,000 concealed in a hidden

  compartment. Id. at 40, 42-44, 45, 48. Dodd disavowed ownership of the money and

  stated she did not know how it got in her luggage. Id. at 49. Groves testified that a drug-

  sniffing canine alerted to the scent of narcotics in Dodd’s luggage, though officers did not




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  find any drugs in the bag. Id. at 59.7 Additionally, a detective with JSO presented a chart

  tracking Dodd’s and her sons’ air travel between Florida and California from 2006 to 2008.

  (Crim. Doc. 302, Trial Tr. Vol. III at 178-85).8 That same detective indicated that JSO was

  tracking shipments to Dodd’s son, Fredrick Campbell, as well as shipments to individuals

  and addresses associated with Campbell. Id. at 7-8. Finally, a friend of Dodd’s sons,

  Spencer Enochs, testified that he saw Dodd at her sons’ house during drug transactions.

  (Crim. Doc. 300, Trial Tr. Vol. I at 55-58). Enochs further testified that he tried to talk to

  Dodd about “her son’s problems” after he received a grand jury subpoena, but that Dodd

  was evasive and even made Enochs lift up his shirt so that she could check him for a

  wire. Id. at 57.

                On this record, the Court cannot say that counsel’s advice to Dodd that the

  government possessed incriminating evidence independent of the January 2009 search

  of her residence “fell outside the wide range of competent assistance.” Weeks, 26 F.3d

  at 1036. The record is not sufficient for the Court to determine whether counsel was in

  fact correct in his advice that certain evidence would likely have been admissible under



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          Although the Jacksonville Sheriff’s Office (JSO) only obtained the records of Dodd’s 2006 and 2007
  encounters with Los Angeles police after the unlawful search of her residence in 2009, that does not render
  evidence of those incidents the “fruit of a poisonous tree.” The Supreme Court has explicitly rejected a
  “but-for” test for determining what evidence is fruit of an illegal search. Wong Sun v. United States, 371
  U.S. 471, 487-88 (1963) (Declining to “hold that all evidence is ‘fruit of the poisonous tree’ simply because
  it would not have come to light but for the illegal actions of the police.”). That is, just because police did not
  think to obtain the 2006 and 2007 records until they searched Dodd’s house does not make those records
  suppressible as well. The police records were created and maintained by the LASD well before, and
  independent of, JSO’s search of Dodd’s house. Moreover, JSO did not have to rely upon evidence derived
  from the search of Dodd’s residence in order to request the LASD records. Thus, evidence from the LASD
  records that tied Dodd to her sons’ marijuana conspiracy would not have been excludable as fruits of the
  illegal search of Dodd’s residence.
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         The detective did not state whether the airline records were gathered only as a result of evidence
  discovered during the search of Dodd’s residence, or from something else. Thus, counsel could not have
  known only from observing the trial whether this evidence, as to Dodd, would have been fruit of a poisonous
  tree.

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  the “independent source” doctrine.      However, whether a guilty plea is unintelligent

  because counsel erroneously thought evidence to be admissible depends “not on whether

  a court would retrospectively consider counsel’s advice to be right or wrong, but on

  whether that advice was within the range of competence demanded of attorneys in

  criminal cases.” McMann, 397 U.S. at 770.

         The record reflects that counsel closely observed the trial of Dodd’s sons in an

  attempt to glean information that would help him serve his client. In observing those trials,

  counsel developed the impression that the government had evidence connecting Dodd

  to her sons’ drug conspiracy that was independent of the suppressible evidence derived

  from the unlawful search of Dodd’s home. On this record, that impression is not one that

  this Court can say was manifestly unreasonable. Moreover, the Court must consider

  counsel’s conduct in context. On the day before her trial was set to begin, Dodd informed

  counsel that she wished to plead guilty after having reviewed transcripts of her sons’ trial

  testimony. Rolle Letter at 5. Counsel contacted the prosecutor at 10:30 pm the night

  before jury selection to negotiate a last-minute plea deal, and those discussions continued

  for two hours the next morning. Id. Counsel obtained a plea agreement that allowed

  Dodd to plead guilty to a reduced quantity of marijuana (thereby reducing her mandatory

  minimum sentence from 10 years to 5 years and the maximum sentence from life to 40

  years), receive a stipulated base offense level, and receive a two-level reduction for

  acceptance-of-responsibility even though plea deadlines had long passed. Dodd, and

  counsel, thus had to choose between the certain benefits of the plea offer and the risk of

  going to trial and being convicted of a more serious offense. Given this choice, and based




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  on counsel’s observations at the trial of Dodd’s sons, the Court cannot say that his advice

  was unreasonable.

          Although Dodd contends that counsel’s advice on the admissibility of certain

  evidence caused her plea to be unknowing, the record of the plea colloquy refutes that

  contention and reflects that she pled guilty with full knowledge of her rights and of the

  consequences of her choice (except with regard to deportation consequences). Dodd’s

  decision to plead guilty to a lesser quantity of marijuana was a calculated decision to

  avoid the same fate as her sons, both of whom were found guilty just before Dodd asked

  to switch her plea. While Dodd broadly contends that counsel’s advice deprived her plea

  of its intelligent nature, she does not explain how. Indeed, it is difficult to explain how that

  is so where the factual basis recited both in the Plea Agreement and at the plea colloquy

  informed Dodd that the evidence against her consisted of UPS and FedEx shipping

  labels, that by pleading guilty she waived the right to object to the manner in which the

  government obtained that evidence, and then she still pled guilty. Therefore, Dodd’s free

  and knowing guilty plea precludes her from claiming that trial counsel’s misadvice on the

  admissibility of certain evidence rendered her plea unknowing or involuntary. “Waiving

  trial entails the inherent risk that the good-faith evaluations of a reasonably competent

  attorney will turn out to be mistaken either as to the facts or as to what a court’s judgment

  might be on given facts.” McMann, 397 U.S. at 770. The possibility that counsel may

  have misjudged the admissibility of travel records and shipping documents under the

  “independent source” doctrine is not enough, by itself, to render her otherwise valid plea

  unintelligent or involuntary. See id. Because Dodd received the assistance of competent

  counsel, and Dodd’s plea colloquy demonstrates that she made a free and informed



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  decision to plead guilty, as to Grounds Three and Four the Motion to Vacate is due to be

  denied.

         B. Ground Five: Voluntariness of Dodd’s guilty plea

         Finally, Dodd contends that her guilty plea was unknowing and involuntary

  because she was under the influence of medications during her plea colloquy. In order

  to ensure that a guilty plea is knowing and voluntary, a district court must address the

  “three core objectives” of Rule 11 to ensure that: (1) a guilty plea is not the product of

  coercion, (2) the defendant understands the nature of the charges, and (3) the defendant

  understands the consequences of pleading guilty. United States v. Camacho, 233 F.3d

  1308, 1314 (11th Cir. 2000). That framework applies as well to cases where a petitioner

  claims that her guilty plea was involuntary on account of the influence of medications.

  See United States v. Evans, 243 F. App’x 538, 539 (11th Cir. 2007).

         The record of Dodd’s plea colloquy amply shows that the Court inquired of the

  effect of Dodd’s medications on her ability to think rationally and to understand her

  decision to plead guilty. Plea Tr. at 12-14. Dodd assured the Court that she was able to

  think clearly and logically, and that her medications did not impair her ability to understand

  the proceedings. Id. at 13. Indeed, after discussing her medications, Dodd specifically

  stated that she wanted to proceed with pleading guilty. Id. Counsel for Dodd, after having

  spent significant time conferring with Dodd that morning, and counsel for the United

  States also both assured the Court that each was confident Dodd was competent to

  proceed.    Id. at 14.   “[T]he representations of the defendant, his lawyer, and the

  prosecutor at [a guilty plea] hearing, as well as any findings made by the judge accepting

  the plea, constitute a formidable barrier in any subsequent collateral proceedings.”



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  Blackledge v. Allison, 431 U.S. 63, 73–74 (1977). “There is a strong presumption that the

  statements made during the [guilty plea] colloquy are true.” United States v. Medlock, 12

  F.3d 185, 187 (11th Cir. 1994). “[W]hen a defendant makes statements under oath at a

  plea colloquy, he bears a heavy burden to show his statements were false.” United States

  v. Rogers, 848 F.2d 166, 168 (11th Cir. 1988). Dodd represented under oath that her

  medications did not prevent her from thinking soundly and that she wished to plead guilty.

  Attorneys for both sides indicated that they were not concerned about Dodd’s

  competence, and Dodd’s behavior at the plea hearing reflected that she was alert. Dodd

  has not presented compelling evidence to rebut the verity of the representations that she

  and counsel made during the plea colloquy.9

                As has already been discussed as well, Dodd assured the Court that she pled

  guilty free of coercion or any inducements that were outside of her Plea Agreement, and

  that it was her own independent decision to do so. Plea Tr. at 30, 34-35. The Court

  informed Dodd of the nature of the charges, the factual basis, and of the consequences

  of pleading guilty (other than those related to deportation), and Dodd stated that she

  understood each. Except insofar as she was unaware of the deportation consequences

  of pleading guilty, the record shows that Dodd pled guilty knowingly and freely. For the

  foregoing reasons, Dodd’s allegation that her medications caused her to unknowingly or

  involuntarily plead guilty is due to be denied.

         III.           Conclusion and Request for Evidentiary Hearing on Ground One

                In consideration of the foregoing, the Court concludes that with the exception of

  Dodd’s claim that counsel was ineffective for failing to advise her of the immigration

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         Additionally, the Court had already conducted a competency hearing prior to the change-of-plea
  and found Dodd competent to stand trial. See Competency Order.

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  consequences of a guilty plea, the Motion to Vacate is due to be denied. However, Dodd

  is entitled to an evidentiary hearing on the claim that counsel rendered ineffective

  assistance by failing to advise her that pleading guilty exposed her to mandatory

  deportation. Accordingly, the Court requests that the Honorable Monte C. Richardson,

  United States Magistrate Judge, conduct an evidentiary hearing consistent with Padilla v.

  Kentucky and Strickland v. Washington in order to ascertain whether Dodd’s trial counsel

  rendered ineffective assistance in advising her on pleading guilty. At the hearing, the

  Court should hear testimony from Wade Rolle (Dodd’s trial counsel in the underlying

  criminal case), Petitioner Sonia Antoinette Dodd, and any other witnesses whose

  testimony the parties deem relevant to these proceedings. By separate order, Judge

  Richardson will appoint counsel for Dodd, set a date for the evidentiary hearing, and

  provide any other specifics deemed necessary. Following the evidentiary hearing, the

  Court requests that Judge Richardson issue a Report and Recommendation as to Dodd’s

  claim that trial counsel provided ineffective assistance with respect to advice on pleading

  guilty and adverse immigration consequences.

         As such, and in accordance with the Rules Governing Section 2255 Cases in the

  United States District Courts, it is hereby

         ORDERED:

      1. Petitioner Sonia Antoinette Dodd’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

         Aside, or Correct Sentence (Doc. 1) is taken under advisement as to Ground One

         pending completion of an evidentiary hearing.

      2. In all other respects, Dodd’s Motion to Vacate is DENIED.




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      3. The Court will refrain from deciding whether to grant a certificate of appealability

          as to any of the issues raised in Dodd’s Motion to Vacate until after the Court has

          reviewed the forthcoming Report and Recommendation and any objections

          thereto.

  DONE AND ORDERED at Jacksonville, Florida this 21st day of November, 2014.




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  Copies:
  Honorable Monte C. Richardson
  United States Magistrate Judge

  Pro se party
  Counsel of record
  Wade M. Rolle, Esq.




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